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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA


 Tower Street Capital Management Inc.,                  C/A No.: 3:17-cv-01781-JFA

                            Plaintiff,

        vs.                                                       ORDER
 KnightBrook Insurance Company,

                            Defendant.


       This matter is back before the court regarding the previously filed cross-motions for

summary judgment. (ECF Nos. 48 & 50). Previously, this court received full briefing,

supplemental briefing, and heard oral argument on these motions. However, in lieu of

ruling on these motions, the court found it prudent to certify two questions to the Supreme

Court of South Carolina requesting clarification on the law of South Carolina as it pertains

to the contract in dispute here. (ECF No. 82). Consequently, the court denied both motions

for summary judgment without prejudice with leave to re-file after the South Carolina

Supreme Court responded to the order for certification. (ECF No. 83).

       Thereafter, each party submitted briefing to the South Carolina Supreme Court and

presented oral argument as well. After hearing oral argument, the South Carolina Supreme

Court rescinded its agreement to answer the certified questions but did offer this court the

opportunity to narrow its questions and recertify them to the Supreme Court. (ECF No. 92).

After further review, this court declines the invitation to narrow its questions and will

instead consider the original motions for summary judgment. In doing so, the court will

consider each of the parties’ original briefings and oral arguments, as well as the additional
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briefings and oral arguments presented to the South Carolina Supreme Court. Thus, this

court vacates its previous order denying the cross-motions for summary judgment (ECF

No. 83) and requests that the clerk reactivate these motions (ECF Nos. 48 &50).

IT IS SO ORDERED.


May 20, 2020                                   Joseph F. Anderson, Jr.
Columbia, South Carolina                       United States District Judge
